Case 3:22-cv-08991-JSC Document 280-3 Filed 10/18/23 Page 1 of 6




          EXHIBIT C
                                                                             Case 3:22-cv-08991-JSC Document 280-3 Filed 10/18/23 Page 2 of 6



                                                                        1   STEPHEN S. SMITH (SBN 166539)
                                                                        2   LAW OFFICES OF STEPHEN S. SMITH, P.C.
                                                                            303 North Glenoaks Blvd., Suite 200
                                                                        3   Burbank, CA 91502
                                                                        4   Telephone: (310) 955-5824
                                                                            Fax: (310) 955-5824
                                                                        5   Email: ssmith@stephensmithlaw.com
                                                                        6
                                                                            Attorneys for Third Party
                                                                        7   Ubisoft Entertainment SA
                                                                        8
                                                                                              UNITED STATES DISTRICT COURT
                                                                        9
                                                                       10                  NORTHERN DISTRICT OF CALIFORNIA
LAW OFFICES OF STEPHEN S. SMITH, P.C.




                                                                       11
                                                                            DANTE DEMARTINI, et al.,                  Case No. 3:22-cv-08991-JSC
                                 303 North Glenoaks Blvd., Suite 200




                                                                       12
                                     Burbank, California 91502




                                                                       13                   Plaintiffs,
                                                                                                                      DECLARATION OF CHRIS EARLY
                                                                       14          v.                                 IN SUPPORT OF UBISOFT’S
                                                                                                                      MOTION FOR PROTECTIVE
                                                                       15   MICROSOFT CORPORATION, a                  ORDER
                                                                            Washington corporation,
                                                                       16
                                                                                            Defendant.
                                                                       17
                                                                       18
                                                                       19
                                                                       20
                                                                       21
                                                                       22
                                                                       23
                                                                       24
                                                                       25
                                                                       26
                                                                       27
                                                                       28

                                                                                                        DECLARATION OF CHRIS EARLY
                                                                             Case 3:22-cv-08991-JSC Document 280-3 Filed 10/18/23 Page 3 of 6



                                                                        1                       DECLARATION OF CHRIS EARLY
                                                                        2         I, Chris Early, declare as follows,
                                                                        3          1.      I am the Senior Vice President, Strategic Partnerships & Business
                                                                        4   Development, for Ubisoft Entertainment, SA (“Ubisoft”). The facts stated
                                                                        5   herein are known to me personally and, if called as a witness, I could and would
                                                                        6   testify competently thereto under oath.
                                                                        7                  Background and Microsoft’s Production to Date
                                                                        8         2.     On September 21, 2023, Ubisoft received a letter from counsel for
                                                                        9   Microsoft Corporation (“Microsoft”) stating that “Microsoft Corporation plans
                                                                       10   to produce the following documents in the above-entitled action pending in the
LAW OFFICES OF STEPHEN S. SMITH, P.C.




                                                                       11   Northern District of California:
                                 303 North Glenoaks Blvd., Suite 200




                                                                       12         1. Equity Purchase Agreement by and between Ubisoft
                                                                                  Entertainment SA and Activision Publishing, Inc., dated August
                                     Burbank, California 91502




                                                                       13         21, 2023, inclusive of exhibits (the “Equity Purchase Agreement”);
                                                                       14         2. Seller Disclosure Letter to the Equity Purchase Agreement by
                                                                                  and between Ubisoft Entertainment SA and Activision Publishing,
                                                                       15         Inc., dated August 21, 2023;
                                                                       16         3. Divestiture of Activision Blizzard Cloud Game Streaming
                                                                                  Rights by and between Activision Blizzard, Inc. and PJSC, LLC,
                                                                       17         dated August 21, 2023 (the “Divestiture Document”); and
                                                                       18         4. Side letter to the Equity Purchase Agreement by and between
                                                                                  Microsoft Corporation and Ubisoft Entertainment SA, dated
                                                                       19         August 21, 2023.”
                                                                       20   Ubisoft’s in-house counsel provided me with a copy of that letter. A true and
                                                                       21   correct copy of that letter is attached hereto as Exhibit “A”.
                                                                       22         3.     I was the person most responsible for the negotiation of the terms
                                                                       23   and conditions of the documents listed in paragraph 2 above on behalf of
                                                                       24   Ubisoft.
                                                                       25         4.     Ubisoft has no objection to the production of document numbers 2
                                                                       26   and 4 above as long as they are produced only to the outside counsel of the
                                                                       27   parties in this case. On the other hand, Ubisoft has objected in part to the
                                                                       28   production of the Equity Purchase Agreement and the Divestiture Document.

                                                                                                       DECLARATION OF CHRIS EARLY
                                                                             Case 3:22-cv-08991-JSC Document 280-3 Filed 10/18/23 Page 4 of 6



                                                                        1   Ubisoft asserted its objections to Microsoft in a letter dated October 5, 2023. A
                                                                        2   true and correct copy of that letter is attached hereto as Exhibit “B”.
                                                                        3   Nonetheless, Ubisoft consented to the production of these two documents to the
                                                                        4   parties’ outside counsel, but only in a partially redacted form.
                                                                        5                        The Reasons for Ubisoft’s Objection
                                                                        6         5.     Pursuant to the Divestiture Document, Activision Publishing, Inc.
                                                                        7   divested itself of Cloud Streaming Gaming Rights (the “Rights”), defined in
                                                                        8   Section 1.8 of the Divestiture Document, by transferring those Rights to another
                                                                        9   entity, PJSC, LLC (“PJSC”), a subsidiary owned and formed by Activision for
                                                                       10   the purpose of holding those Rights. In the Equity Purchase Agreement,
LAW OFFICES OF STEPHEN S. SMITH, P.C.




                                                                       11   Ubisoft as the “Buyer” buys all the equity interests in PSJC from Activision and
                                 303 North Glenoaks Blvd., Suite 200




                                                                       12   thereby acquires the Rights.
                                     Burbank, California 91502




                                                                       13         6.     The text that Ubisoft has redacted from the Equity Purchase
                                                                       14   Agreement and the Divestiture Document relates to the consideration, including
                                                                       15   a future revenue share, that Ubisoft will be paying Activision and Microsoft
                                                                       16   (the “Consideration”) for the Rights. It would be extremely damaging to
                                                                       17   Ubisoft if the Consideration became publicly known. Most obviously, the
                                                                       18   public disclosure of the Consideration would adversely impact Ubisoft’s
                                                                       19   bargaining power when negotiating potential licenses of those same Rights with
                                                                       20   third parties and, therefore, harm Ubisoft’s ability to compete in the market by
                                                                       21   causing Ubisoft to be unable to obtain the best possible deals.
                                                                       22         7.     The Consideration is based on the anticipated value that Ubisoft
                                                                       23   believes it can obtain by licensing those Rights to third parties. If the value of
                                                                       24   the Rights is diminished because future potential licensees learn of the
                                                                       25   Consideration and therefore pay less to license those rights, then Ubisoft will
                                                                       26   not be able to realize the anticipated value that formed the basis for calculating
                                                                       27   the Consideration. Ubisoft does not want to risk having the Consideration
                                                                       28   publicly known so that it can realize the highest possible value from the Rights.
                                                                                                                        1
                                                                                                       DECLARATION OF CHRIS EARLY
                                                                             Case 3:22-cv-08991-JSC Document 280-3 Filed 10/18/23 Page 5 of 6



                                                                        1         8.     Also, Ubisoft never communicates the value of acquired assets in
                                                                        2   merger and acquisition transactions. Knowing the Consideration would permit
                                                                        3   the public to evaluate the impacts of the transaction on Ubisoft’s revenues for
                                                                        4   years to come and how much Ubisoft (and Activision/Microsoft) value the
                                                                        5   Rights. The redactions are necessary to ensure the Consideration is not known
                                                                        6   and cannot be accurately estimated. Disclosure of the Consideration would
                                                                        7   negatively impact Ubisoft’s bargaining power in negotiations with other, future
                                                                        8   partners.
                                                                        9         9.     Moreover, while the Consideration has been agreed between the
                                                                       10   parties, it may be adjusted in the future under certain circumstances. Much of
LAW OFFICES OF STEPHEN S. SMITH, P.C.




                                                                       11   what is redacted in the Equity Purchase Agreement and the Divestiture
                                 303 North Glenoaks Blvd., Suite 200




                                                                       12   Document relates to those potential post-August 21, 2023 adjustments to the
                                     Burbank, California 91502




                                                                       13   Consideration.
                                                                       14         10.    Every redaction relates to the economics of the deal – i.e., the total
                                                                       15   amount of consideration, including revenue share and potential future
                                                                       16   adjustments, that Ubisoft will pay to Activision and Microsoft for the Rights.
                                                                       17         I declare under penalty of perjury under the laws of the United States and
                                                                       18   the law of California that the foregoing is true and correct.
                                                                       19         Executed on October ___, 2023, at _____________________.
                                                                       20                                    __________________________________
                                                                                                             Chris Early
                                                                       21
                                                                       22
                                                                       23
                                                                       24
                                                                       25
                                                                       26
                                                                       27
                                                                       28
                                                                                                                        2
                                                                                                       DECLARATION OF CHRIS EARLY
Case 3:22-cv-08991-JSC Document 280-3 Filed 10/18/23 Page 6 of 6
